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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
BRIAN AARNE,                                                           :
                                                                       :
                                    Plaintiff,                         :
                                                                       :     20-CV-5092 (JPC)
                  -v-                                                  :
                                                                       :          ORDER
LONG ISLAND RAILROAD COMPANY,                                          :
                                                                       :
                                    Defendant.                         :
                                                                       :
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JOHN P. CRONAN, United States District Judge:

        On December 21, 2020, the Court granted Defendant’s motion for leave to file a third-party

complaint. (Dkt. 14.) Defendant has not done so. Within one week of the filing of this Order, the

parties shall file a joint letter updating the Court on the status of this case and, in particular, the

status of the filing of the third-party complaint and service upon the third-party defendant.

        SO ORDERED.

Dated: January 12, 2021                                    __________________________________
       New York, New York                                           JOHN P. CRONAN
                                                                  United States District Judge
